                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                       Chapter 7

    AKORN HOLDING COMPANY LLC,                                   Case No. 23-10253 (KBO)
    et al., 1
                    Debtors.                                     (Jointly Administered)

       AMENDED2 NOTICE OF AGENDA FOR HEARING SCHEDULED
 FOR MAY 19, 2023 AT 10:00 A.M. (PREVAILING EASTERN TIME), BEFORE THE
HONORABLE KAREN B. OWENS AT THE UNITED STATES BANKRUPTCY COURT
   FOR THE DISTRICT OF DELAWARE, LOCATED AT 824 NORTH MARKET
  STREET, 6TH FLOOR, COURTROOM NO. 3, WILMINGTON, DELAWARE 19801

This hearing will be conducted in person. All parties, including witnesses, are expected to attend
in person unless permitted to appear via Zoom. Participation at the in-person court proceeding
using Zoom is allowed only in the following circumstances: (i) counsel for a party or a pro se
litigant files a responsive pleading and intends to make only a limited argument; (ii) a party or a
representative of a party is interested in observing the hearing; (iii) a party is proceeding in a
claims allowance dispute on a pro se basis; (iv) an individual has a good faith health-related
reason to participate remotely and has obtained permission from chambers to do so; or (v) other
extenuating circumstances that warrant remote participation as may be determined by the Court.3

If appearance via Zoom is permitted, please use the following link to register for this
hearing to appear via Zoom. All individuals participating by video must register at least
two (2) hours prior to the hearing. After registering your appearance by Zoom, you will
receive a confirmation email containing information about joining the hearing.

https://debuscourts.zoomgov.com/meeting/register/vJIsfu6uqDIqHK4bH_B3bft3LO8PoVlWyJs

                 Topic: Akorn Holding Company LLC et al – Case No. 23-10253 (KBO)
                     When: May 19, 2023 at 10:00 a.m. (Prevailing Eastern Time)

             You must use your full name when registering and logging into Zoom or you will
                                  not be granted access to the hearing.
                             CourtCall will NOT be used for this hearing.


1
  The Debtors in these chapter 7 cases, along with the last four digits of their federal tax identification numbers, and
cases numbers are Akorn Holding Company LLC (9190), Case No. 23-10253 (KBO); Akorn Intermediate Company
LLC (6123), Case No. 23-10254 (KBO); and Akorn Operating Company LLC (6184), Case No. 23-10255. The
Debtors’ headquarters is located at 5605 CenterPoint Court, Gurnee, IL 60031.
2
  Amended Notice of Agenda items appear in bold text.
3
  See Chambers Procedures of the Honorable Karen B. Owens dated October 3, 2022.
https://www.deb.uscourts.gov/sites/default/files/judge/Judge%20Karen%20B.%20Owens/General%20Chambers%2
0Procedures%20%28dated%20October%203%2C%202022%29.pdf




LEGAL\63750262\2 6010823/00574256
MATTERS GOING FORWARD:

1.   Sale Hearing Regarding Trustee’s Motion for Entry of (I) an Order (A) Approving
     Bidding Procedures in Connection with Sale of Substantially all of the Estates’ Assets,
     (B) Scheduling an Auction and Hearing to Consider the Proposed Sale, and (C)
     Approving the Form and Manner of Notice Thereof; and (II) an Order (A) Approving the
     Sale, (B) Authorizing the Assumption and Assignment of Executory Contracts and
     Unexpired Leases, and (C) Granting Certain Related Relief
     [Filed 4/20/2023; Docket No. 106]

     Related Documents:             (a)   Entered Order Granting Trustee’s Motion for Entry of an
                                          Order (A) Approving Bidding Procedures in Connection
                                          With Sale of Substantially All of the Estates’ Assets, (B)
                                          Scheduling an Auction and Hearing to Consider the
                                          Proposed Sale, (C) Approving the Form and Manner of
                                          Notice Thereof, and (D) Granting Certain Related
                                          Relief (the “Bidding Procedures Order”)
                                          [Filed 4/28/2023; Docket No. 137]

                                    (b)   Notice of Sale of Assets, Auction, and Sale Hearing
                                          [Filed 5/1/2023; Docket No. 145]

                                    (c)   Notice of Executory Contracts and Unexpired Leases that
                                          May be Assumed and Assigned, Pursuant to Section 365 of
                                          the Bankruptcy Code, in Connection with the Sale of
                                          Substantially all of the Debtors’ Assets, and the Proposed
                                          Cure Amounts
                                          [Filed 5/1/2023; Docket No. 146]

     Objection Deadlines:1                Sale Objection Deadline:…………….. May 16, 2023

                                          Objections to Proposed Cure Amounts
                                          and Assumption/Assignment of
                                          Executory Contracts/Leases:………...       May 16, 20232

                                          Replies to Cure Objections and
                                          Assumption/Assignment of Executory
                                          Contracts/Leases:…………………….              May 18, 2023

                                          Objections under §365(f)(2) to
                                          Assumption/Assignment of Executory      at or before Sale
                                          Contracts/Leases:…………………….              Hearing
1
  Objection Deadlines as provided in the Bidding Procedures Order.
2
  The Trustee has granted an extension to certain contract parties in an effort to consensually resolve
informal inquiries regarding cure and/or assumption/assignment of executory contracts and leases.



LEGAL\63750262\2 6010823/00574256
                                          Replies to Objections under §365(f)(2)
                                          to Assumption/Assignment of            at or before Sale
                                          Executory Contracts/Leases……….         Hearing

    Responses Received: (d)               Reservation of Rights of the Chubb Companies with
                                          Respect to Trustee’s Motion for Entry of (I) an Order (A)
                                          Approving Bidding Procedures in Connection with Sale of
                                          Substantially all of the Estates’ Assets, (B) Scheduling an
                                          Auction and Hearing to Consider the Proposed Sale, and (C)
                                          Approving the Form and Manner of Notice thereof; and (II)
                                          an Order (A) Approving the Sale, (B) Authorizing the
                                          Assumption and Assignment of Executory Contracts and
                                          Unexpired Leases, and (C) Granting Certain Related Relief
                                          [Filed 5/3/2023; Docket No. 151]

                                    (e)   Objection of Creditor M. Jacob & Sons, d/b/a MJS
                                          Packaging, to Debtors’ Proposed Cure Amount
                                          [Filed 5/15/2023; Docket No. 173]

                                    (f)   Oracle’s Rights Reservation Regarding the Trustee’s Sale
                                          Motion and Assumption Notice
                                          [Filed 5/16/2023; Docket No. 179]

                                    (g)   Objection of Interior Specialty Construction, Inc. and
                                          Sullivan Contractors, LLC to Notice of Executory Contracts
                                          and Unexpired Leases that May be Assumed and Assigned,
                                          Pursuant to Section 365 of the Bankruptcy Code, in
                                          Connection with the Sale of Substantially all of the Debtors’
                                          Assets, and the Proposed Cure Amounts
                                          [Filed 5/16/2023; Docket No. 180]

                                    (h)   Objection of AmerisourceBergen Drug Corporation and
                                          Affiliates to Cure Amounts and Reservation of Rights
                                          [Filed 5/16/2023; Docket No. 182]

                                    (i)   Limited Objection and Reservation of Rights Regarding
                                          Notice of Executory Contracts and Unexpired Leases That
                                          May Be Assumed and Assigned, Pursuant to Section 365 of
                                          the Bankruptcy Code, in Connection With the Sale of
                                          Substantially All of the Debtors’ Assets, and the Proposed
                                          Cure Amounts Filed by Thermo Fisher Scientific
                                          [Filed 5/16/2023; Docket No. 185]

                                    (j)   Objection of Teva Affiliates to Proposed Cure Amounts
                                          [Filed 5/16/2023; Docket No. 186]


                                                        2
LEGAL\63750262\2 6010823/00574256
                                    (k)   Objection of Creditor Henderson Constructors, Inc. to
                                          Debtors’ Proposed Cure Amount and to Assumption and
                                          Assignment of Superseded Proposal
                                          [Filed 5/16/2023; Docket No. 188]

                                    (l)   McKesson Corporation and Certain Corporate Affiliates’
                                          Objection to Proposed Assumption and Assignment of
                                          Executory Contracts and Reservation of Rights
                                          [Filed 5/16/2023; Docket No. 189]

                                    (m)   Reservation of Rights and Conditional Objection of
                                          Chicago Infill Industrial Properties LP and Westmount
                                          Realty Capital, LLC to Trustee’s Motion to Sell
                                          Substantially all of the Debtors’ Assets
                                          [Filed 5/16/2023; Docket No. 190]

                                    (n)   Galenicum Health, S.L.U.’s Reservation of Rights and
                                          Objection to Cure and Assumption and Assignment
                                          [Filed 5/16/2023; Docket No. 191]

                                    (o)   Objection of Sofgen Pharmaceuticals LLC to Proposed
                                          Cure Amounts and Assignability of Contract
                                          [Filed 5/16/2023; Docket No. 192]

                                    (p)   Cardinal Health’s Limited Objection and Reservation of
                                          Rights Regarding Notice of Executory Contracts and
                                          Unexpired Leases That May Be Assumed and Assigned,
                                          Pursuant to Section 365 of the Bankruptcy Code, in
                                          Connection With the Sale of Substantially All of the
                                          Debtors' Assets, and the Proposed Cure Amounts
                                          [Filed 5/16/2023; Docket No. 193]

                                    (q)   Protective Objection of Evoqua Water Technologies LLC to
                                          Notice of Sale of Assets, Auction and Sale Hearing
                                          [Filed 5/16/2023; Docket No. 194]

                                    (r)   Leadiant Biosciences Inc.’s Objection to the Trustees
                                          Notice of Executory Contracts and Unexpired Leases that
                                          May be Assumed and Assigned, Pursuant To Section 365 of
                                          the Bankruptcy Code, in Connection with the Sale of
                                          Substantially all of the Debtors Assets and the Proposed
                                          Cure Amounts
                                          [Filed 5/16/2023; Docket No. 195]




                                                       3
LEGAL\63750262\2 6010823/00574256
                                    (s)   Limited Objection and Reservation of Rights of Thea
                                          Pharma Inc. and Laboratoires Théa Sas to the Trustee’s (I)
                                          Cure Notice and (II) Sale Motion
                                          [Filed 5/16/2023; Docket No. 196]

Additional Filings:                 (t)   Notice of Successful Bidders and Alternate Bidders
                                          [Filed 5/18/2023; Docket No. 204]

                                    (u)   Asset and Share Purchase Agreement dated as of May
                                          18, 2023 by and between Sentiss AG as Purchaser, and
                                          George L. Miller, the Chapter 7 Trustee of the estates of
                                          Akorn Holding Company LLC, Akorn Intermediate
                                          Company LLC and Akorn Operating Company LLC as
                                          Seller
                                          [Filed 5/18/2023; Docket No. 205]

                                    (v)   Purchaser’s Declaration in Support of Trustee's Motion
                                          for Entry of (I) an Order (A) Approving Bidding
                                          Procedures in Connection with Sale of Substantially all
                                          of the Estates’ Assets, (B) Scheduling an Auction and
                                          Hearing to Consider the Proposed Sale, and (C)
                                          Approving the Form and Manner of Notice thereof; and
                                          (II) an Order (A) Approving the Sale, (B) Authorizing
                                          the Assumption and Assignment of Executory Contracts
                                          and Unexpired Leases, and (C) Granting Certain
                                          Related Relief
                                          [Filed 5/18/2023; Docket No. 206]

                                    (w)   Certification of Counsel Regarding Submission of Order
                                          (A) Approving the Sale of Certain of the Estates’ Assets
                                          (Specific “ANDAs” and Shares) to Sentiss AG or its
                                          Assigns, (B) Approving the Asset and Share Purchase
                                          Agreement Between the Trustee and Sentiss AG, and
                                          (C) Granting Certain Related Relief
                                          [Filed 5/19/2023; Docket No. 208]




                                                       4
LEGAL\63750262\2 6010823/00574256
    Status:                         The hearing is going forward in connection with the
                                    Trustee’s sale to Sentiss AG Switzerland and the Trustee
                                    will seek approval of the sale. None of the objections to
                                    cure or objections to assumption/assignment of executory
                                    contracts relate to the purchased assets which are the subject
                                    matter of the proposed sale to Sentiss AG Switzerland.

                                    The Trustee concluded the Auction proceedings on May
                                    18, 2023 and will request an adjourned sale hearing date
                                    for a date during the week of May 22, 2023 at the
                                    Court’s convenience.

                                    The Trustee is currently working toward resolving all filed
                                    cure objections and/or proposed assumption and assignment
                                    of executory contracts objections prior to the adjourned sale
                                    hearing.


Dated: May 19, 2023                                        COZEN O’CONNOR
       Wilmington, Delaware

                                                   By:     /s/ John T. Carroll, III
                                                           John T. Carroll, III (DE No. 4060)
                                                           1201 N. Market Street
                                                           Suite 1001
                                                           Wilmington, DE 19801
                                                           (302) 295-2028 Phone
                                                           (302) 295-2013 Fax No.
                                                           jcarroll@cozen.com

                                                           Counsel to George L. Miller,
                                                           Chapter 7 Trustee




                                                  5
LEGAL\63750262\2 6010823/00574256
